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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
                           Criminal No. 05-309 (MJD/FLN)

UNITED STATES OF AMERICA,                        )
                                                 )
                             Plaintiff,          )
                                                 )          PRELIMINARY
                      v.                         )       ORDER OF FORFEITURE
                                                 )
TIMOTHY STEVEN GRYZ (5),                         )
                                                 )
                             Defendant.          )



     Based on the Consent Decree For Forfeiture entered into

between the United States and Defendant Timothy Steven Gryz; on the

Plea Agreement entered into between the United States and the

defendant; and on the Court’s determination that, based on the

Consent Decree for Forfeiture, the Plea Agreement entered into by

the defendant and based on all of the files and records of this

proceeding, the government has established the requisite nexus

between such property and the offense to which the defendant has

pled guilty,

     IT IS HEREBY ORDERED that:

     1. the sum of $20,000.00 is forfeited from Defendant Timothy

Steven    Gryz    pursuant      to   21   U.S.C.     §    853(a)    in   lieu    of    the

forfeiture       of   the    defendant’s     property      in   Backus,      Minnesota;

     2.    the    Attorney      General     or   his     authorized      designee      may

maintain custody and control of the $20,000.00 which has been

tendered to the United States pending the entry of a Final Order of

Forfeiture;
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     3.     the   United   States    shall,    pursuant    to   21   U.S.C.   §

853(n)(1), publish and give notice of this Order and its intent to

dispose of the foregoing property in such manner as the Attorney

General may direct;

     4.    pursuant to Fed.R.Crim.P. 32.2(b)(3), this Preliminary

Order of Forfeiture shall become final as to the defendant at the

time of sentencing, and shall be made a part of the sentence and

included in the judgment;

     5.    following the Court’s disposition of all petitions filed

pursuant to 21 U.S.C. § 853(n)(2) or, if no petitions are filed,

following the expiration of the time period specified within which

to file such petitions, the United States shall have clear title to

the foregoing property and may warrant good title to any subsequent

purchaser or transferee; and

     6. the Court shall retain jurisdiction to enforce this Order,

and to amend it as necessary pursuant to Fed.R.Crim.P. 32.2(e).


Dated:    March 20, 2006              s/Michael J. Davis
                                    MICHAEL J. DAVIS, Judge
                                    United States District Court




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